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                            NOT FOR PUBLICATION                           FILED
                     UNITED STATES COURT OF APPEALS                        OCT 9 2020
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

 UNITED STATES OF AMERICA,                       No.    19-56018

                 Plaintiff-Appellee,             D.C. No.
                                                 2:18-cv-00670-SJO-GJS

   v.
                                                 MEMORANDUM*

 INTERNATIONAL HUMAN RIGHTS
 COMMISSION; ROBERT SHUMAKE;
 DANIEL FLINT,

                 Claimants-Appellants,

   v.

 148,145.00 IN U.S. CURRENCY,

                 Defendant.

                    Appeal from the United States District Court
                        for the Central District of California
                     S. James Otero, District Judge, Presiding

                              Submitted October 7, 2020**
                                 Pasadena, California


        *
              This disposition is not appropriate for publication and is not precedent
 except as provided by Ninth Circuit Rule 36-3.
        **
              The panel unanimously concludes this case is suitable for decision
 without oral argument. See Fed. R. App. P. 34(a)(2).
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 Before: M. SMITH and OWENS, Circuit Judges, and CARDONE,*** District
 Judge.

       This case arises from the appeal of default judgments entered against the

 International Human Rights Commission (IHRC), Daniel Flint (Flint), and Robert

 Shumake (Shumake) in a judicial forfeiture proceeding relating to money seized

 from Flint at Los Angeles International Airport (LAX). Because the parties are

 familiar with the facts, we do not recount them here, except as necessary to provide

 context to our ruling. We have jurisdiction under 28 U.S.C. § 1291. We AFFIRM in

 part, and REVERSE in part.

       With respect to IHRC and Flint, the district court found they received direct

 notice of the judicial forfeiture proceedings but failed to file claims in the

 proceedings. By failing to file a claim, the district court correctly held they lacked

 standing to challenge the forfeiture and properly entered default judgments against

 them. See United States v. Real Prop., 135 F.3d 1312, 1317–18 (9th Cir. 1998).

       In addition, because the district court held IHRC and Flint lacked good cause

 to set aside the entry of defaults against them under Federal Rule of Civil Procedure

 55(c), they also fail to demonstrate excusable neglect to set aside the default

 judgments under Federal Rule of Civil Procedure 60(b)(1). Both analyses consider




       ***
             The Honorable Kathleen Cardone, United States District Judge for the
 Western District of Texas, sitting by designation.

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 the same factors. See Brandt v. Am. Bankers Ins. Co. of Fla., 653 F.3d 1108, 1111

 (9th Cir. 2011) (citing Falk v. Allen, 739 F.2d 461, 463 (9th Cir. 1984)); see also

 United States v. Aguilar, 782 F.3d 1101, 1109 (9th Cir. 2015).

       With respect to Shumake, however, the district court abused its discretion in

 granting the motion to strike his verified judicial claim because the district court

 improperly weighed competing evidence at the pleading stage of the proceedings.

       We addressed this issue in United States v. $999,830.00 in U.S. Currency, 704

 F.3d 1042 (9th Cir. 2012) (per curiam). In that case, we reversed the district court’s

 order striking a claim and subsequent default judgment against the would-be

 claimant. Id. We concluded a claimant’s “unequivocal assertion of ownership

 establishes Article III standing at this stage of proceedings” and held the district

 court erred by considering the claimant’s alleged prior inconsistent statements to

 negate his assertion of ownership at the pleading stage. See id. at 1043.

       The Government argues on appeal that Shumake had actual notice of the

 judicial forfeiture proceedings under Supplemental Admiralty and Maritime Claims

 Rule G(4)(b)(v) such that his claim was untimely. In the Government’s first motion

 for default judgment, the district court found Shumake did not receive direct notice

 of the judicial forfeiture proceedings and denied default as to Shumake on that basis.

 The Government contends the district court erred because it did not consider

 knowledge Shumake allegedly had before the Government filed its complaint. But



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 whether Shumake filed a claim in the prior administrative proceeding, or whether

 his attorneys had discussions with the Government before it filed its complaint that

 initiated the judicial forfeiture proceeding, does not establish Shumake’s actual

 knowledge of this judicial forfeiture proceeding under Supplemental Rule

 G(4)(b)(v). As currently developed, the record does not indicate Shumake had actual

 knowledge under Supplemental Rule G(4)(b)(v). Therefore, the district court did not

 abuse its discretion in denying the Government’s first motion for default as to

 Shumake.

       Accordingly, we AFFIRM the default judgments as to IHRC and Flint.

 Because the district court abused its discretion by granting the Government’s motion

 to strike Shumake’s claim, we REVERSE that order and the subsequent default

 judgment entered against Shumake, and REMAND the case for further proceedings

 with respect to Shumake’s claim. Each party shall bear its own costs on appeal.




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